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  8                          UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                             CASE NO. 07CR449 WQH
 12                                       Plaintiff,         ORDER
              vs.
 13    TONY RAMOS (17), et.al.
 14                                    Defendants.
 15   HAYES, Judge:
 16          The matter before the Court is the Motion to Dismiss the Indictment filed by Defendant
 17   Antonio Ramos-Amezcua (#158).
 18                                              FACTS
 19          On February 23, 2007, the government filed a seventeen count indictment in this case
 20   against nineteen defendants charging conspiracy to import controlled substances in Count 1;
 21   conspiracy to distribute controlled substances in Count 2; continuing criminal enterprise in
 22   Count 3; conspiracy to launder money in Count 4; distribution of a controlled substance in
 23   Counts 5; importation of a controlled substance in Counts 6, 8, 9, 10, 11, 12, 13, and 15; and
 24   possession with intent to distribute a controlled substance in Counts 7, 14, 16, and 17.
 25   Defendant Ramos-Amezcua is charged in Count 1 and Count 2 which allege conspiracies
 26   involving “a large scale distribution organization (Cazares organization) that send metric ton-
 27   quantities of cocaine from Mexico into the United States.” (Doc. # 1 at 2.) Count 1 and Count
 28   2 allege in part that Defendant Ramos-Amezcua “was a narcotics load-vehicle driver for the


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  1   Cuevas Cell.” (Doc. # 1 at 6.)
  2          On February 28, 2007, the indictment was unsealed by order of the Court. (Doc #17.)
  3          On March 1, 2007, Defendant Ramos-Amezcua was arrested.
  4          On March 2, 2007, Defendant Ramos-Amezcua was arraigned before the Magistrate
  5   Judge and detained. (Doc.# 22.)
  6          On March 6, 2007 the Magistrate Judge held a detention hearing for Defendant Ramos-
  7   Amezcua. (Doc. #30.)
  8          On March 8, 2007, Magistrate Judge held a further detention hearing. The Magistrate
  9   Judge granted the Government’s motion for detention and Defendant Ramos-Amezcua remains
 10   in custody. (Doc. #33.)
 11          On March 23, 2007, Defendant Octavio Amezcua filed a motion for discovery
 12   requesting a wide range of materials in the custody, control, care, or knowledge of the Plaintiff
 13   or any closely related investigative or other agency. (Doc. # 43.)
 14          On March 26, 2007, the Government filed a response to the Defendant’s motion for
 15   discovery. (Doc. # 46.)
 16          On March 27, 2007, Defendant Arturo Flores Medina filed a notice of joinder in the
 17   motion for discovery filed by Defendant Octavio Amezcua. (Doc. # 47.)
 18          On April 13, 2007, Defendant Gilbert Vasquez-Chavez filed a motion for discovery.
 19   (Doc. # 75.)
 20          On April 13, 2007, Defendant Carlos Cuevas, Jr. filed a motion for discovery. (Doc. #
 21   77.)
 22          On April 13, 2007, this Court held a hearing with all Defendants and all counsel
 23   present, including Defendant Ramos-Amezcua and counsel for Defendant Ramos-Amezcua.
 24   The parties discussed with the Court in detail the extensive discovery involved in the case.
 25   The Court inquired “Are all counsel joined in for the respective discovery motions?” A
 26   number of defense counsel answered in the affirmative. Counsel for Defendant Ramos-
 27   Amezcua remained silent. With the agreement of all defendants and defense counsel, the
 28   Court set a further status hearing for June 7, 2007.


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  1          Upon written request filed by each indigent defendant, the Court has authorized funding
  2   for extensive discovery to be provided to counsel for each indigent Defendant, including
  3   Defendant Ramos-Amezcua. Discovery materials in this case necessary in order for defense
  4   counsel to provide effective assistance of counsel to their clients and to provide an adequate
  5   defense includes thousands of pages of discovery as well as at least 34 compact discs. ( See,
  6   e.g. Doc. # 92, 93, 105, 110, 111, 122.)
  7          On May 1, 2007, Defendant Jose Oscar Del-Gallardo filed a motion for joinder in the
  8   Motion for Discovery filed by Defendant Octavio Amezcua on March 23, 2007. (Doc. # 100.)
  9          On May 1, 2007, Defendant Miguel Angel Cardenas-Garcia filed a motion for joinder
 10   in the Motion for Discovery filed by Defendant Octavio Amezcua on March 23, 2007. (Doc.
 11   # 101.)
 12          On May 1, 2007, the Court held a hearing regarding discovery with all defendants and
 13   counsel present. All issues regarding discovery were discussed and the Court set a further
 14   hearing for June 7, 2007. (Doc. #102.)
 15          On May 24, 2007, Defendant Roberto Daniel Lopez filed a motion for Joinder in
 16   Discovery (Doc. # 131.)
 17          On May 29, 2007, Defendants Carlos Cuevas, Jr. and Defendant Sergio Kaiser-Chavez
 18   entered pleas of guilty to a Superseding Information.
 19          On June 12, 2007, the Court held a further hearing regarding discovery.            The
 20   Government informed that Court that it has produced 31,880 pages of line sheets, forty-four
 21   CDs of audio recordings, 1342 pages of information related to the wiretaps, nine photo CDs
 22   with roughly 2700 photos, eight CDs of interviews, fifteen CDs of search warrant and other
 23   information, and binders totaling 1755 pages. Pursuant to the agreement of all parties, the
 24   Court set a further hearing for all defendants on August 16, 2007 at which time the Court will
 25   set dates for substantive motions, motions to suppress and wire tap motions. During the June
 26   12, 2007 hearing, counsel for Defendant Ramos-Amezcua indicated for the first time that
 27   Defendant Ramos-Amezcua did not join in the motions previously filed by the co-defendants
 28   and that she was taking the position that the Speedy Trial clock was running with respect to


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  1   Defendant Ramos-Amezcua. The Court ordered the government to outline its position
  2   regarding the Speedy trial clock with respect to Defendant Ramos-Amezcua. (Doc. #146.)
  3          On June 13, 2007, the Government filed a memorandum stating its position that the
  4   Speedy Trial clock is tolled as to all defendants in this case including Defendant Ramos-
  5   Amezcua by the filing of the initial motion for discovery by Defendant Octavio Amezcua on
  6   March 23, 2007.
  7          On June 27, 2007, Defendant Ramos-Amezcua moved the Court to dismiss the
  8   indictment. Defendant Ramos-Amezcua contends that his Speedy Trial clock has been ticking
  9   because he not filed any motions and he has not joined in any motions filed by other
 10   defendants. Defendant contends that he is prejudiced by the delay in his trial because the
 11   delay affords the Government an opportunity to enter into negotiations with co-defendants to
 12   testify against him at trial.
 13          On June 29, 2007, Defendant Jose Oscar Del Castillo-Gallardo entered plea of guilty
 14   to a superseding information. (Doc. # 167.)
 15          On July 12, 2007, the Court held a hearing on Defendant’s motion to dismiss.
 16                                       APPLICABLE LAW
 17          18 U.S.C. Section 3161(c)(1) of the Speedy Trial Act requires that “[i]n any case in
 18   which a plea of not guilty is entered, the trial of a defendant charged in an information or
 19   indictment with the commission of an offense shall commence within seventy days from the
 20   filing date (and making public) of the information or indictment, or from the date defendant
 21   has appeared before a judicial officer of the court in which such charge is pending, whichever
 22   date last occurs.” Section 3161(h) provides for a number of exclusions from the period of time
 23   used in computing the 70 day period, including Section 3161(h)(1)(F) which excludes “delay
 24   resulting from any pretrial motion from the filing of the motion through the conclusion of the
 25   hearing on, or prompt disposition of, such motion.”
 26          “It is well established that an exclusion from the Speedy Trial clock for one defendant
 27   applies to all codefendants. . . . The attribution of delay to a codefendant, however, is limited
 28   by a reasonableness requirement; § 3161(h)(7) excludes from the 70-day period ‘a reasonable


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  1   period of delay when the defendant is joined for trial with a codefendant as to whom the time
  2   for trial has not run and no motion for severance has been granted.’” United States v. Messer,
  3   197 F.3d 330, 336 (9th Cir. 1999). The general purpose of Section 3161(h)(7) is
  4   “accommodating the efficient use of prosecutorial and judicial resources in trying multiple
  5   defendants in a single trial.” United States v. Franklin, 148 F.3d 451, 456-7 (5th Cir. 1998).
  6          In undertaking to determine the reasonableness of delay under Section 3161(h)(7),
  7   “courts look particularly to whether the delay was necessary to achieve its purpose [of
  8   effectuating joint trials] and to whether there was any actual prejudice suffered by the
  9   [defendant].” United States v. Hall, 181 F.3d 1057, 1062 (9th Cir. 1999) (citation omitted).
 10   In Hall, the Court of Appeals found that it was not reasonable to delay Hall’s trial “so that a
 11   [the codefendant] could continue her plea negotiations” in light of Hall’s repeated objections
 12   to the continuances, the codefendant’s suggestion of severance, and the risk of prejudice to
 13   Hall. Id. at 1063.
 14          The Speedy Trial Act assigns district courts an independent responsibility to protect
 15   both the defendant’s and the public’s strong interest in the timely administration of justice.
 16   Messer, 197 F.3d at 337. The Court gauges “the reasonableness of delay on a case by case
 17   basis, given the fact-bound nature of the inquiry.” Id. (quotations and citations omitted). The
 18   defendant is not required to demonstrate “both that the delay was not necessary to achieve §
 19   3161(h)(7)’s purpose and that the defendant suffered actual prejudice in order to show that the
 20   delay was unreasonable.” Id. “[T]he proper test is whether the totality of the circumstances
 21   warrants a conclusion that the delay was unreasonable.” Id. at 338. “[N]o continuance period
 22   may be excluded unless the court makes reasonably explicit findings that demonstrate that the
 23   ends of justice served by granting the continuance do, in fact, outweigh the best interests of the
 24   public and the defendant in a speedy trial.” United States v. Perez-Reveles, 715 F.2d 1348,
 25   1352 (9th Cir. 1983). The findings of the district court must be set forth with particularity. Id.
 26                                          CONCLUSION
 27          Defendant Ramos-Amezcua was arraigned before the Magistrate Judge on March 2,
 28   2007. On March 23, 2007, Defendant Octovio Amezcua filed the first motion for discovery


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  1   stopping the Speedy Trial clock under Section 3161(h)(1)(F). All Defendants except for
  2   Defendant Ramos-Amezcua filed a motion for discovery or for joinder. The Court concludes
  3   that the delay resulting from the filing of the motion for discovery by Defendant Octavio
  4   Amezcua on March 23, 2007 pursuant to Section 3161(h)(1)(F) of the Speedy Trial Act applies
  5   to all codefendants including Defendant Ramos-Amezcua pursuant to Section 3161(h)(7). The
  6   attribution of the delay to Defendant Ramos-Amezcua is reasonable under the facts of this
  7   case.
  8           Defendant Ramos-Amezcua is joined with eighteen other defendants in a seventeen
  9   count indictment alleging a wide ranging conspiracy to import and distribute metric ton-
 10   quantities of cocaine from Mexico into the United States. Defendant Ramos-Amezcua has not
 11   filed a motion to sever. Discovery has been represented by all parties, including Defendant
 12   Ramos-Amezcua, to encompass thousands of pages of documents as well as at least 34
 13   compact discs needed in order to provide effective assistance of counsel to their clients and to
 14   provide an adequate defense. All defendants with the exception of Defendant Ramos-Amezcua
 15   have filed a motion for discovery or specifically joined in the motion for discovery filed by
 16   Defendant Octavio Amezcua filed on March 23, 2007. All parties, including Defendant
 17   Ramos-Amezcua, have appeared before the Court on a regular basis to assure that discovery
 18   is progressing as quickly as possible. All defendants, including Defendant Ramos-Amezcua,
 19   represented at the pretrial hearings that review of extensive discovery was necessary in order
 20   to provide an effective defense and present necessary pretrial motions to suppress and to
 21   challenge the wiretaps. No delay in this case has been ordered for the Government to continue
 22   plea negotiations involving any defendant.
 23           The Court has held prompt pretrial hearings. Defendant Ramos-Amezcua participated
 24   in all pretrial hearings and received the benefit of the discovery motions filed by other
 25   defendants. The Court finds that time is excluded pursuant to Section 3161(h)(F) from March
 26   23, 2007 to the next hearing date in this case scheduled for August 16, 2007 for all defendants
 27   including Defendant Ramos-Amezcua. This delay is necessary in order to achieve the
 28   purposes of Section 3161 (h)(7) and the Defendant Ramos-Amezcua has suffered no actual


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  1   prejudice from the delay.
  2         IT IS HEREBY ORDERED that the Motion to Dismiss the Indictment filed by
  3   Defendant Ramos-Amezcua (#158) is denied. The Court finds a continued period of delay
  4   under the Speedy Trial Act for all Defendants, including Defendant Antonio Ramos-Amezcua,
  5   from March 23, 2007 until August 16, 2007.
  6   DATED: July 12, 2007
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                                                    WILLIAM Q. HAYES
  8                                                United States District Judge
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